Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21       Page 1 of 20 PageID 106


                          THE UNITED STATES DISTRICT COURT

                     FOR THE NORTHERN DISTRICT OF TEXAS



                              CASE NO 3:21-CV-00830-K-BT



Joe Hunsinger,



      Plaintiff Pro-Se'



v.



AFFORDABLE AUTO PROTECTION, LLC,



      Defendant,



SING FOR SERVICES, LLC dba MEPCO



      Defendant.

                                         I
---------------

 DEFENDANT, AFFORDABLE AUTO PROTECTION,LLCS, MOTION TO DISMISS

      PLAINTIFF, JOE HUNSINGER'S, COMPLAINT OR, ALTERNATIVELY,

DEFENDANT, AFFORDABLE AUTO PROTECTION,LLCS, MOTION FOR A MORE

                                DEFINITE STATEMENT




                               EXHIBIT "A"
Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21   Page 2 of 20 PageID 107


                             TABLE OF CONTENTS




I.      INTRODUCTION                                                       1



II.     STATEMENT OF FACTS                                                2



III.    PRO SE LITIGANTS                                                  4



IV.     MOTION TO DISMISS PURSUANT TO

        FEDERAL RULE OF CIVIL PROCEDURE 12(B)(5)                          6



V.      MOTION TO DISMISS PURSUANT TO

        FEDERAL RULE OF CIVIL PROCEDURE 12(B)(2)                          6



VI.     MOTION TO DISMISS PURSUANT TO

        FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6)                          11



VII.    MOTION FOR A MORE DEFINITE STATEMENT PURSUANT

        TO FEDERAL RULE OF CIVIL PROCEDURE 12(E)                          13



VIII.   CONCLUSION                                                        14




                                    - 11­
Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                                            Page 3 of 20 PageID 108


                                               TABLE OF AUTHORITIES




Alexander v. Greenwood Hall, Inc., CIVIL ACTION NO. 4:18-CV-04540, 2 0 1 9

U . S . Dist. LEXIS 11 3 9 5 6 , at * 3 2 (S.D. Tex. July 8, 2 0 1 9 )                                                 9



Alpine View Co. Warranty Services, INC v. Atlas Copso AB,

205 F . 3 d 2 0 8 , 2 1 5 (5th Cir. 2000)                                                                              7, 8



Ashcroft v. Iqbal, 5 5 6 U . S . 662, 677-678 (2009)                                                                    11



Associated Gen. Contractors of Cal., Inc. v. Cal. State Council of Carpenters,

459 U . S . 5 1 9 ( 1 9 8 3 ) .. :                                                                                         11



Bailey v. AT&T Corp./Headquarters,

No. 3 : 1 6 - C V - 1 4 6 4 - B , 2 0 1 7 WL 11 7 8 3 10 , at * 1 (N.D. Tex. Mar. 29, 2 0 1 7 )                        .4



Barr v. American Association of Political Consultants, Inc.,

140 S. Ct. 2335, 2346 (2020)                                                                                               12



Bell Atlantic Corp. v. Twombly, 5 5 0 U . S . 5 4 4 , 5 5 5 (2007)                                                         ll , 1 2



Bir! v. Estelle, 660 F.2d 592, 593 (5th Cir. 1 9 8 1 )                                                                     .4



Burger King Corp. v. Rudzewicz,

471 U . S . 462, 472-74 ( 1 9 8 5 )                                                                                        6, 8



Carimi v. Royal Carribean Cruise Line, Inc.

959 F.2d 1344, 1346 (5th Cir. 1992)                                                                                        .4



Casso's Wellness Store & Gym, L.L.C. v. Spectrum Lab. Prod, Inc.,

No. CV 1 7 - 2 1 6 1 , 2 0 1 8 WL 1377608, at *4 (E.D. La. Mar. 1 9 , 2 0 1 8 ) . . . . . . . . . . . . . . . . . . . . . 6



Central Freight Lines Inc.,322 F . 3 d at 3 8 1.                                                                            8



Clemens v. McNamee,

6 1 5 F.3d 3 7 4 , 3 7 8 (5th Cir. 2010), cert. denied, 13 1 S. Ct. 3 0 9 1 ( 2 0 1 1 )                                     7



Cockerham v. Rose,

No. 3:11-CV-277-B, 2 0 11 WL 1 5 1 5 1 5 9 , at * 1 (N.D. Tex. Apr. 1 8 , 2 0 11 )                                         .4



Crawford-el v. Britton, 523 U . S . 574, 597-98 ( 1 9 9 8 )                                                                14



Creasy v. Charter Communs., Inc., No. 2 0 - 1 1 9 9 SECTION "F",

2020 U . S . Dist. LEXIS 177798 (E.D. La. Sept. 28, 2020)                                                      ·           12




                                                                - lll -
Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                             Page 4 of 20 PageID 109


Cunningham v. CBC Conglomerate LLC,

3 5 9 F. Supp. 3d 471 (E.D. Tex. 2 0 1 9 )                                                      5



Davis v. Leavitt,

No. 4:12-CV-739-A, 2013 WL 11 5 5 3 7 5 , at 1 (N.D. Tex. Mar. 1 9 , 2 0 13 )                   6



Dejoria v. Maghreb Petroleum Exp!., S. A . , 804 F.3d 3 7 3 , 3 8 8 (5th Cir. 2 0 1 5 ) )       10



Gartin v. Par Pharm. Cos., Inc., 289 Fed. Appx. 6 8 8 , 6 9 1 n.3 (5th Cir. 2008)                   5



Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 9 1 5 , 9 1 8 ( 2 0 11 )                  8



Hanson v. Denckla, 357 U . S . 235, 253 ( 1 9 5 8 )                                                 7



Hargrove v.     Underwriters at Lloyd's, 937 F. Supp. 5 9 5 , 6 0 6 (S.D. Tex. 1996)            .1 0



Havel v. Honda Motor Europe Warranty Services, Inc.,

No. H - 1 2 9 1 , 2 0 1 4 WL 4967229, at * 1 5 (S.D. Tex. Sept. 30, 2 0 1 4 )          '.           9



Helicopteros Nacionales de Columbia, S.A. v. Hall,

466 U.S. 4 0 8 , 4 1 4 (1984)                                                                   7, 8



Holt Oil & Gas Corp. v. Harvey, 8 0 1 F.2d 773, 779 (5th Cir. 1986)                             8



Johnson v. Atkins, 999 F.2d 99, 100 (5th C i r. 1 9 9 3 )                                       .4




Johnston v. Multidata Systems Int'l. Corp., 523 F.3d 602, 6 1 0 - 1 1 (5th Cir. 2008)           8



Jones v. Greninger, 1 8 8 F.3d 3 2 2 , 3 2 7 (5th Cir. 1 9 9 9 )                                   6



Lahman v. Nationwide Provider Sols., No. 4:17-CV-00305,

2 0 1 8 U . S . Dist. LEXIS 1 0 1 7 5 7 , at 4 (E.D. Tex. June 1 9 , 2 0 1 8 )                      5



Latshaw v. Johnston, 1 6 7 F.3d 2 0 8 , 2 11 (5th Cir. 1999)                                       7



Lindenbaum v. Realgy, Case No. 1:19-cv-2862 (N.D. Oh. 2020)                                        12



Matheson Tri-Gas, Inc. v. FlexTM, Inc.,

No. 4:18-CV-0248, 2 0 1 8 U. S . Dist. LEXIS 8 7 1 9 5 , at * 8 (S.D. Tex. May 24, 2 0 1 8 )    10



McFadin v. Gerber, 587 F.3d 7 5 3 , 759 (5th Cir. 2009)                                        8,9



Morrell v. Experian Info. Sols., Inc.,

no. 3:19-cv-2982-k-bh, 2021 WL 197428, at 1 (N.D. Tex. Jan. 20, 2 0 2 1 )                       13



Omni Capital Int'! v. Rudolf Wolff & Co., 484 U.S. 97, 104-05 (1987)                           6



                                                        - 1v   ­
Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                               Page 5 of 20 PageID 110



Panda Brandywine Corp., 253 F.3d at 865, 867                                                      6,7



Reece v. Countrywide Home Loans, 250 Fed. Appx. 9 1 , 92 (5th Cir. 2007)                         .4



Seifarth v. Helicopteros Atuneros, Inc., 472 F.3d 2 6 6 , 2 7 1 (5th Cir. 2006)                   9



Shabana Hussain v. Sullivan Buick-Cadillac-GMC Truck, Inc., et al.,

5:20-cv-00038 (Md. Fla. December 1 1 , 2020)                                                      12



Travelers Indem. Co. of Conn. v. Presbyterian Healthcare Res.,

3 13 F. Supp. 2d 648, 653-54 (N.D. Tex. 2004)                                                         14



Walker v. Beaumont Indep. Sch. Dist.

2 0 1 6 U . S . Dist. LEXIS 4 1 4 0 8 , at * 5 1 (E.D. Tex. Mar. 11 , 2 0 1 6 )                   5



WNS, Inc. v. Farrow, 884 F.2d 2 0 0 , 2 0 3 (5th Cir. 1 9 8 9 )                                       8



World-Wide Volkswagen Corp. v.             Woodson, 444 U.S. 2 8 6 , 2 9 7 ( 1 9 8 0 )                7, 10



Zoch v. Daimler,

2 0 1 7 U.S. Dist. LEXIS 169240 (E.D. Tex. May 1 6 , 2 0 1 7 )                                    9, 10




                                                         - V ­
Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                                Page 6 of 20 PageID 111



          Defendant, Affordable Auto Protection, LLC ("Affordable"), by and through undersigned



counsel, hereby files this Motion to Dismiss Plaintiff, Joe Hunsinger' s ("Plaintiff), Complaint



("Complaint") pursuant to Federal Rule of Civil Procedure 12(b) subsections (2), (5) and (6) or,



alternatively, files this Motion for a More Definite Statement pursuant to Federal Rule of Civil



Procedure 12(e), and states as follows:



I.       INTRODUCTION.



         While far from the picture of clarity, as best can be discerned from the Complaint, Plaintiff,



by and through jumbled, disjointed and conclusory allegations and unsupported facts, alleges that



Affordable somehow violated the Telephone Consumer Protection Act, 47 U.S.C. $227 (TCPA")



when Plaintiff allegedly received an unspecified number of unlawful phone call(s) to his cellular



telephone.     It is unclear from the pleadings what phone number Plaintiff is alleging was contacted



because the Complaint incoherently references and claims two different telephone numbers.                          See



Complaint ,i,i 6 . 1 , 6.27, 6.28 and        14.02   [D.E.    l].   Moreover, Plaintiff fails to allege when he



received the alleged call(s); how many alleged call(s) he received, see Complaint generally [D.E.



1];   and he   implies, without any clarity that he               also received unlawful    text message(s).       See



Complaint ,i,i 3.24, 3 . 2 5 , 3 .2 8 and 5 . 6 [D.E. 1 ] .   Plaintiff alleges that the unspecified phone call(s),



and possibly text message(s), were made using an automatic telephone dialing system ("ATDS")



for non-emergency         purposes to his       unidentified cellular telephone(s).        At all   times relevant,



Plaintiff claims his cellular telephone number was on the National Do Not Call Registry.



         In   accordance     with    Federal    Rule    of Civil     Procedure   12(b)   subsections   (2)   and   (5),



Affordable hereby moves for the dismissal of this case against it because it is not a proper party to



the suit, and it is not subject to the personal jurisdiction of the Court.               Moreover, in accordance



with Federal Rule of Civil Procedure              12(b)(6), Plaintiffs incoherent, conclusory and factually




                                                              1
Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                      Page 7 of 20 PageID 112


unsupported allegations are legally insufficient to form the basis of the claims asserted against



Affordable under the TCPA.      Accordingly, the Complaint must be dismissed with prejudice as it



pertains to Affordable because Affordable is an improper party to which this Court lacks personal



jurisdiction and for failure to state a claim for which relief may be granted.



II.     STATEMENT OF FACTS.



        1.     On April 1 2 , 2 0 2 1 , Plaintiff filed this Complaint for alleged damages claiming that



Affordable and Sing for Service LLC, d/b/a MEPCO (collectively "Defendants") violated the



TCP A by allegedly making an unidentified quantity of call( s) to his unidentified cellular telephone,



using what Plaintiff says (without any justification) was an ATDS. See Complaint generally [D.E.



1 ].



       2.      Due to   an inadvertent error Affordable         failed to timely file a response to    the



Complaint.



       3.      Plaintiff put in the return of service for each of the Defendants and moved for an



Entry of Clerk's Default on June 1 , 2021.   [D.E. 8, 9 and 1 1 ] .



       4.      On June 2, 2 0 2 1 , the Clerk of Court entered a Clerk's Default against each of the



Defendants.   [D.E. 1 2 and 14].



       5.      Upon receiving a copy of the Clerk's Default (not from Plaintiff, but rather from



another attorney) undersigned counsel immediately filed Affordable's Motion to Set Aside Clerk's



Default on June 1 5 , 2021 and provided an explanation for the inadvertent error.      [D.E. 1 6 ] .



       6.      Affordable's Motion to Set Aside Clerk's Default was still pending before the Court



at the time this Motion to Dismiss was filed.   [D.E. 1 6 ] .



       7.      Affordable is a Florida limited liability company with its principal place of business



in West Palm Beach, Florida.




                                                   2
Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                           Page 8 of 20 PageID 113


          8.      At all times relevant,   Gustav Renny served as the Manager of Affordable.            A



complete and accurate copy of Mr.       Renny's Sworn Declaration is attached hereto as Exhibit " l " .



          9.      Affordable does not own or lease any real estate in the State of Texas and has no



office locations nor presence in the State of Texas.     See Exhibit " l " .



          10.     Affordable has never conducted business operations of any kind in the State of



Texas.    See Exhibit " 1 .



          11.     Affordable has never incurred or remitted taxes in the State of Texas.      See Exhibit



·1.



          12.     Affordable Auto Protection, LLC is not AAP and does not do business as AAP.



See Exhibit " l ".



          13.     AAP is a registered d/b/a name of a different corporate entity that is independent of



Affordable.     See Exhibit "l ".



          14.     Affordable does not do any telemarketing and does not sell automobile warranties



via telephone or telemarketing.     See Exhibit " l ".



          15.     Affordable did not call Plaintiff and did not sell Plaintiff a MEPCO Vehicle Service



Policy.   See Exhibit " 1 ".



          16.     Affordable did not make any pre-recorded calls to Plaintiff.      See Exhibit 1 .



          17.     Affordable is improperly named as a defendant in this action.       See Exhibit 1 .



          18.     Despite being advised by undersigned counsel of this this error, Plaintiff has failed



to correct his error of naming the wrong defendant and would not agree to set aside the Clerk's


                               1
Default against Affordable.




1
    Undersigned counsel reached out to Plaintiff in good faith and informed him of this error via

electronic mail prior to filing Affordable' s Motion to Set Aside Clerk's Default and Plaintiff would

not agree to set aside the Clerk's Default or amend the Complaint to name the correct party.


                                                     3
Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                                     Page 9 of 20 PageID 114


           19.      Regardless of the merits of Plaintiffs claims that the alleged call( s) were unlawful,



Affordable was not involved with the alleged call(s) at issue.                  See Exhibit " 1 .



           20.      The Complaint is completely devoid of factual support for the claims therein and



as such should be dismissed with prejudice against Affordable.



                                         2•
III.      PRO SE LITIGANTS



           Pro   se litigants   are    expected    to   comply    with   the   rules    of pleading   and   the   rules    of



service.    See Bir! v.     Estelle,    660 F.2d 592,      593    (5th Cir.    1981).    Parties who proceed pro se,



however, are often given more leeway than represented parties in correcting errors in pleadings



and defects in service of process.            See Reece v. Countrywide Home Loans, 250 Fed. Appx. 9 1 , 92



(5th Cir. 2007).        Nevertheless, a prose plaintiffs complaint "must set forth facts giving rise to a



claim on which relief may be granted." Johnson v. Atkins, 999 F.2d 99, 100 (5th Cir.1993).



IV.       MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL

          PROCEDURE 12(B)(5).



          Affordable is an improper party to this lawsuit.               "Under Federal Rule of Civil Procedure



4( c)(1 ), the plaintiff is responsible for serving the defendant with a complaint and summons.                           If a



plaintiff performs        an insufficient       service   of process,    the   defendant may     seek to    dismiss       the



plaintiffs complaint under Rule 12(b)(5)." Bailey v. AT&T Corp./Headquarters, No. 3:16-CV-



1464-B, 2 0 1 7 WL 11 7 8 3 10 , at * 1 (N.D. Tex. Mar. 29, 2017)(citing Cockerham v. Rose, No. 3 : 11 -



CV-277-B, 2 0 1 1 WL 1 5 1 5 1 5 9 , at * 1 (N.D. Tex. Apr. 1 8 , 2011)).



          When a defendant questions the validity of service of process, "the plaintiff bears the



burden of establishing its validity." Id. (citing Carimi v. Royal Carribean Cruise Line, Inc., 959



F.2d 1344,       1346 (5th Cir.       1992)).   Under Federal Rule of Civil Procedure 4(a)(l)(A), in cases




2
    Although Plaintiff is proceeding pro se, he is no stranger to litigation.               He has been (or still is) a

Plaintiff in at least twenty-seven (27) cases in this district and has filed fifteen ( 1 5 ) TCPA cases

since April 2 0 2 1 .


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Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                      Page 10 of 20 PageID 115


 where the alleged defect in the service of process is that the plaintiff named an incorrect party, a



 defendant can challenge service under Rule 12(b )( 5) on the grounds that the wrong party has been



 served.   Gartin v. Par Phann. Cos., Inc., 289 Fed. Appx. 6 8 8 , 6 9 1 n.3 (5th Cir. 2008).



           Plaintiff attached the MEPCO Welcome Letter that accompanied the MEPCO Vehicle



 Service Contract that he purchased to the Complaint.        It specifically states, "[c ]ongratulations on



your purchase of a vehicle service contract from AAP."         See Complaint Attached Exhibit on Page



23   [D.E.   1].   Plaintiff also attached the MEPCO Confirmation of Preauthorized ACH/CC that



accompanied the        MEPCO     Vehicle   Service   Contract that he purchased to the     Complaint.    It



specifically listed AAP under the Account and Contract Information section.               See Complaint



Attached Exhibit on Page 22 [D.E. 1 ] .     Contrary to Plaintiffs assertions, AAP is not a registered



d/b/a of Affordable.       Simple and proper due diligence on the part of Plaintiff, through the State



of Florida's official business registry (www.sunbiz.org), would have allowed Plaintiff to identify



the parties he wanted to sue and would have informed him that Affordable is not registered to do



business as AAP, nor has Affordable ever transacted business as AAP.           This is further evidenced



by Mr.     Renny's Sworn Declaration.      See Exhibit 1 .   "A plaintiffs allegations are 'taken as true



except to the extent that they are contradicted by defendant's affidavits."'        Cunningham v. CBC



Conglomerate LLC, 3 5 9 F. Supp. 3d 4 7 1 , 476 (E.D. Tex. 2 0 1 9 ) (quoting Lahman v. Nationwide



Provider Sols., No. 4:17-CV-00305, 2 0 1 8 U.S. Dist. LEXIS 10 1 7 5 7 , at *4 (E.D. Tex. June 1 9 ,



2018)).    Moreover, allowing Plaintiff to try to cure this fatal deficiency via an amendment to allege



that Affordable is liable would be futile because Affordable is improperly named as a defendant



in this action.    Therefore, any request to further amend the pleadings should be denied. See Walker



v. Beaumont Indep. Sch. Dist., 2 0 1 6 U.S. Dist. LEXIS 4 1 4 0 8 , at * 5 1 (E.D. Tex. Mar. 1 1 , 2016)



(finding when "a claim is frivolous or the 'complaint alleges the plaintiffs best case,' a further




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Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                              Page 11 of 20 PageID 116


 factual statement from the plaintiff need not be allowed.") (quoting Jones v. Greninger, 1 8 8 F.3d



 322, 327 (5th Cir. 1999)).



            Accordingly, there is no basis for liability against Affordable and it should be dismissed as



 an improper party pursuant to Federal Rule of Civil Procedure 12(b )(5).



            In an abundance of caution, if the Court does inclined to dismiss the instant matter based



 on   the   aforementioned       argument,    then the    Court    should    dismiss   the   case   on the    following



 additional grounds as set forth herein:



 V.         MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL

            PROCEDURE 12(B)(2).



            The Court lacks personal jurisdiction over Affordable in the instant matter.                     Before the



 Court can even consider the allegations made in the Complaint, the Court must first have the power



 to hear the case and possess jurisdiction over the parties.                  Pursuant to Federal Rule of Civil



 Procedure 12(b )(2), the exercise of personal jurisdiction over a non-resident defendant is proper



 when: (1 ) the non-resident is subject to jurisdiction under the laws of the state in which the court



 sits;   and   (2)   the   exercise   of jurisdiction   over the   defendant    comports     with the   due process



 requirements of the United States Constitution.            Burger King Corp. v. Rudzewicz, 471 U. S . 462,



 472-74 ( 1 9 8 5 ) ; Panda Brandywine Corp., 253 F.3d at 8 6 5 , 8 6 7 .



            When, as here, "an action invoking the court's federal-question jurisdiction is based on a



 statute that does not provide for nationwide service of process, the court looks to the law of the



 forum state governing personal jurisdiction to determine if the defendant is amenable to process



 in the forum state."        Davis v. Leavitt, No. 4:12-CV-739-A, 2 0 13 WL 1 1 5 5 3 7 5 , at * 1 (N.D. Tex.



Mar. 1 9 , 2013) (citing Omni Capital Int'! v. Rudolf Wolff & Co., 484 U.S. 97, 104-05 (1987)); see



Federal Rule of Civil Procedure 4(k)1); see also                   Casso's    Wellness Store & Gym, L.L.C.           v.




                                                           6
Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                                       Page 12 of 20 PageID 117


 Spectrum Lab. Prod., Inc., No. CV 1 7 - 2 1 6 1 , 2 0 1 8 WL 1377608, at *4 (E.D. La. Mar. 1 9 , 2 0 1 8 )



 (noting that the TDCA does not provide for nationwide service of process).



           Since the Texas long-arm statute authorizes the exercise of personal jurisdiction to the



 extent allowed by the due process clause of the Fourteenth Amendment, only the federal                                   due



process inquiry need be addressed.                Latshaw v. Johnston, 1 6 7 F.3d 2 0 8 , 2 1 1 (5th Cir. 1999); Tex.



 Civ. Prac. & Rem. Code §               17.041    et seq. "Exercising personal jurisdiction over a nonresident



 defendant is compatible with due process when ( 1 ) that defendant has purposefully availed [itself]



of the benefits and protections of the forum state by establishing minimum contacts with the forum



 state, and (2) the exercise of jurisdiction over that defendant does not offend traditional notions of



fair play and substantial justice." Panda Brandywine Corp., 253 F . 3 d at 867.



          The "minimum contacts" prong of the analysis is satisfied when a defendant "purposefully



avails itself of the privilege of conducting activities within the forum state, thus invoking the



benefits    and    protections       of its   laws."     Hanson     v.   Denckla,    357   U.S.   235,   253   (1958).    The



nonresident defendant's availment must be such that the defendant "should reasonably anticipate



being haled into court" in the forum state. World-Wide Volkswagen Corp. v.                           Woodson, 444 U.S.



286, 297 ( 1980). There are two types of minimum contacts: those giving rise to general jurisdiction



and those giving rise to specific jurisdiction.                Clemens v. McNamee, 6 1 5 F.3d 374, 3 7 8 (5th Cir.



2 0 1 0 ) , cert. denied, 13 1 S . Ct. 3 0 9 1 ( 2 0 1 1 ) .



          General jurisdiction          exists   where the      nonresident's       contacts   with the   forum   state   are



unrelated to the cause of action but are "continuous and systematic."                       Helicopteros Nacionales de



Columbia, S.A. v. Hall, 466 U . S . 408, 4 1 4 (1984); Alpine View Co.                       Warranty Services, INC. v.



Atlas Copso AB, 205 F .3d 208, 2 1 5 ( 5th Cir. 2000).                   Specific jurisdiction is appropriate where the



nonresident has purposefully directed its activities at the forum state and the "litigation results




                                                                7
Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                           Page 13 of 20 PageID 118


from alleged injuries that arise out of or relate to those activities." Alpine              View Co.   Warranty



Services, INC., 205 F.3d at 2 1 5 (quoting Burger King Corp., 4 7 1 U . S . at 472) (quotations omitted).



It is a claim-specific inquiry and requires less pervasive contacts with the forum state than general



jurisdiction.      McFadin v. Gerber, 5 8 7 F .3 d 753, 7 5 9 (5th Cir. 2009).    Plaintiff has the burden of



establishing minimum contacts. WNS, Inc. v. Farrow, 884 F.2d 2 0 0 , 2 0 3 (5th Cir. 1989).



              General Jurisdiction.   As noted above, a court may assert general jurisdiction over a



nonresident defendant when its          contacts   are   substantial,   continuous,   and   systematic.   Central



Freight Lines Inc., 322 F . 3 d at 3 8 1 (citing Helicopteros Nacionales de Colombia, S. A . , 466 U.S.



at 4 1 4 ).    As reaffirmed by the Supreme Court of the United States ("SCOTUS"), these contacts



must be "so 'continuous and systematic' as to render [the defendant] essentially at home in the



forum State." Goodyear Dunlop Tires Operations, SA. v. Brown, 564 U . S . 9 1 5 , 9 1 8 (2011).              The



Fifth Circuit has "consistently imposed the high standard set by SCOTUS when ruling on general



jurisdiction issues." Johnston v. Multidata Systems Int'l.          Corp.,   523 F.3d 602, 6 10 - 11 (5th Cir.



2008).        Moreover, when a nonresident defendant timely challenges the existence of personal



jurisdiction, the plaintiff bears the burden of proving that the Court, in fact, does have personal



jurisdiction over the nonresident defendant.         Id.; see also Holt Oil & Gas Corp. v. Harvey, 80 I



F.2d 773, 779 (5th Cir. 1 9 8 6 ) .



          In the instant matter, the Court lacks general jurisdiction over Affordable.             Specifically,



Affordable is incorporated in Florida with its principal place of business in Florida. See Exhibit



"I".   Moreover, Affordable has never conducted business in Texas or had a presence in Texas.



See Exhibit " 1 .      As established supra, Affordable was improperly named as a Defendant in this



lawsuit and therefore did not have any contacts with the State of Texas in that regard. Furthermore,



Plaintiff does not even allege that the Court has personal jurisdiction over Affordable, let alone




                                                         8
Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                        Page 14 of 20 PageID 119


provide any factual support thereof.       See Complaint generally [D.E.       1 ].    Based on the fact that



Plaintiff has not alleged that the Court has general jurisdiction and because Plaintiff has alleged



no   facts   showing   that   Affordable   made   any   contacts   with   Texas,      substantial,   continuous,



systematic, or otherwise, he has failed to make a prima facie showing of general jurisdiction



against Affordable.



        Specific Jurisdiction.    Affordable does not have ties to this matter that warrant an assertion



of specific jurisdiction because it was improperly named as a defendant as established supra.



Specific jurisdiction over a non-resident defendant exists where: ( 1 ) the "defendant has minimum



contacts with the forum state, i . e . , . . . it [has] purposely directed its activities toward the forum



state or purposefully availed itself of the privileges of conducting activities there; (2) . . . the



plaintiffs cause of action arises out of or results from the defendant's forum-related contacts; and



(3) . . . the exercise of personal jurisdiction is fair and reasonable." Alexander v. Greenwood Hall,



Inc., CIVIL ACTION NO. 4:.18-CV-04540, 2 0 1 9 U. S . Dist. LEXIS 1 1 3 9 5 6 , at * 3 2 (S.D. Tex. July



8, 2 0 1 9 ) (citing McFadin v. Gerber, 587 F.3d 7 5 3 , 759 (5th Cir. 2009)).     "[T]he plaintiff bears the



burden of satisfying the first two prongs; if the plaintiff is successful, the burden shifts to the



defendant to show that exercising jurisdiction would be unfair or unreasonable." Zoch v. Daimler,



2 0 1 7 U . S . Dist. LEXIS 169240 at * 10 (emphasis added) (citing Seiferth v. Helicopteros Atuneros,



Inc., 472 F.3d 266, 2 7 1 (5th Cir. 2006)).



        The first two prongs of the test for specific jurisdiction cannot be met here, as Affordable



has no connection to the alleged call(s) to Plaintiff to warrant finding a connection to this forum



with regards to the allegations giving rise to this case. See Havel v. Honda Motor Europe Warranty



Services, Inc., No. H - 1 2 9 1 , 2 0 1 4 WL 4967229, at 1 5 (S.D. Tex. Sept. 30, 2014) (finding the



plaintiffs did not meet the burden necessary to impute a defendant's actions to another where the




                                                    9
Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                                       Page 15 of 20 PageID 120


defendant never directed the other defendant to "take action" with respect to the State of Texas



and the plaintiffs did not allege or show how the defendant "direct[ ed] its agents or distributors to



take action" with respect to Texas).



           Plaintiff alleges, but provides no facts to plausibly support, that the Court has specific



jurisdiction    over Affordable.       See   Complaint         ,r,r   2.1    and   2.3   [D.E.   1]    As   such,   Plaintiffs



allegations are insufficient and rebutted by Mr.                   Renny's Sworn Declaration.               See Exhibit "l ".



Therefore, Plaintiff has failed to make a prima facie                        showing of specific jurisdiction against



Affordable.



           Principles o
                      f Fair Play and Substantial Justice.                      Only when the Court finds minimum



contacts     with   the   forum   exists   does   it   need   to      determine     whether      the   exercise   of personal



jurisdiction over a defendant would comply with the traditional notions of fair play and substantial



justice.    Zoch v. Daimler, 2 0 1 7 U. S . Dist. LEXIS 169240 a t * 10; see also Matheson Tri-Gas, Inc.



v. FlexTM, Inc., No. 4:18-CV-0248, 2 0 1 8 U . S . Dist. LEXIS 8 7 1 9 5 , at * 8 (S.D. Tex. May 24, 2 0 1 8 )



("In addition to minimum contacts, due process requires the exercise of personal jurisdiction to



comply with traditional notions of fair play and substantial justice." (quoting Dejoria v. Maghreb



Petroleum Expl., S. A. , 804 F.3d 3 7 3 , 3 8 8 (5th Cir. 2015))).              In order to comply with the notions of



fair play and substantial justice, "[t]he relationship between the defendant and the forum state must



be such that it is reasonable to require the [company] to defend the particular suit." Hargrove v.



Underwriters at Lloyd's, 937 F. Supp. 5 9 5 , 6 0 6 (S.D. Tex. 1996) (citing World-Wide Volkswagen



Corp. v.    Woodson, 444 U . S . 2 8 6 , 2 9 2 (1980)).



           As explained at length above, Affordable has no relationship with Texas in relation to this



matter that would make it reasonable for it to defend                  a:   lawsuit in this forum.      See Exhibit "1.    In



fact, it is inherently unreasonable to require Affordable to travel to Texas to defend itself from




                                                              10
Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                          Page 16 of 20 PageID 121


 baseless accusations whereby Plaintiff accused the wrong party and then refused to cure                         his



 pleading error upon notice.     Thus, the notions of fair play and substantial justice do not support a



 finding of personal jurisdiction over Affordable.



         Accordingly,    the   Court   lacks   personal jurisdiction   over   Affordable     and   it   should   be



 dismissed pursuant to Federal Rule of Civil Procedure 12(b)(2).




 VI.     MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL

         PROCEDURE 12(B)(6).



         Plaintiff fails to state a cause of action for which relief can be granted.          "Under Federal



 Rule of Civil Procedure 8(a)(2), a pleading must contain a 'short and plain statement of the claim



 showing that the pleader is entitled to relief."'     Ashcroft v. Iqbal, 5 5 6 U . S . 662, 677-678 (2009).



 "[T]he pleading standard Rule 8 announces does not require 'detailed factual allegations,' but it



 demands more than an unadorned, the-defendant-unlawfully-harmed-me accusation." Id. at 678



 (citing Bell At!. Corp. v. Twombly, 5 5 0 U.S. 544, 5 5 5 (2007)).    "Threadbare recitals of the elements



 of a cause of action, supported by mere conclusory statements, do not suffice" in meeting the



 standard required by Rule 8.    Id.



         "To   survive   a motion to    dismiss,   a complaint must     contain sufficient     factual matter,



 accepted as true, to state a claim of relief that is plausible on its face."          Id.   at 678.    "While a



 complaint attacked by a Rule 12(b )( 6) motion to dismiss does not need detailed factual allegations,



a plaintiffs obligation to provide the 'grounds of his entitlement to relief requires more than labels



and conclusions, and a formulaic recitation of the elements of a cause of action will not do[.]"



 Twombly, 5 5 0 U.S. 544, 5 5 5 (2007) (internal citations omitted).



         "Factual allegations mustbe enough to raise       a right to relief above the speculative level. . . "


Id. at 5 5 5 (internal citation omitted).   Courts may not assume that "the [plaintiff] can prove facts



that [he or she] has not alleged or that the defendants have violated the . . .law[] in ways that have


                                                      11
Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                                Page 17 of 20 PageID 122


 not been alleged." Associated Gen. Contractors of Cal., Inc. v. Cal. State Council of Carpenters,



 459 U.S. 5 1 9 , 526 ( 1 9 8 3 ) .    "Where a complaint pleads facts that are 'merely consistent with' a



 defendant's liability, [the complaint] 'stops short of the line between possibility and plausibility



 of entitlement to relief.'" Iqbal, 5 5 6 U . S . at 678 (quoting Twombly, 550 U.S. at 557)).



           Plaintiffs incoherent, confusing, vague, and conclusory allegations are legally insufficient



to form the basis of the claims asserted against Affordable.                   Accordingly, Plaintiffs Complaint



must be dismissed for failure to properly state a cause of action and failure to comply with the



minimum pleading standards, pursuant to Federal Rule of Civil Procedure l 2(b )( 6).                    Specifically,



the Complaint fails to assert any facts to support Plaintiffs conclusory statements.                       First, it is



unclear who Plaintiff is alleging made the alleged call(s) and if Plaintiff is alleging vicarious



liability against Affordable because the alleged call(s) were made by some third party.                            The



Complaint is very ambiguous and contradictory                       in that regard and lacks   any factual support



thereof.    See Complaint      ,r,r   4 . 1 and 4.2 [D.E. 1 ].



           Second, Plaintiff never asserts when he allegedly received these unlawful call(s) nor how



many unlawful call(s) he allegedly received.               See Complaint generally [D.E. 1 ] .   Moreover, within



the four comers of the Complaint, it is not even clear what year it was when Plaintiff allegedly


                                          3
received these unlawful call(s).              See Complaint generally [D.E. l ].      Additionally, it is unclear if




3
    The timing of the alleged call( s) is particularly relevant because prior to July 6, 2020, the Supreme

Court of the United States held that the TCPA, as written, was an unconstitutional, content-based

suppression on free speech.            See Barr v. American Association of Political Consultants, Inc., 140

S. Ct. 2 3 3 5 , 2346 (2020); Creasy v. Charter Communs., Inc., No. 2 0 - 1 1 9 9 SECTION                  F,    2020

U.S. Dist. LEXIS        177798 (E.D. La. Sept. 28, 2020); Lindenbaum v. Realgy,                 Case No. 1 : 1 9 - c v ­

2862 (N.D. Oh. 2020); and Shabana Hussain v. Sullivan Buick-Cadillac-GMC Truck, Inc., et al.,

5:20-cv-00038 (Md. Fla. December 1 1 , 2020).                    Accordingly, claims for TCPA violations prior to

July 6, 2020 are barred as a matter of law because the violation of an unconstitutional law is not a

justiciable question.


                                                             12
Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                                                Page 18 of 20 PageID 123


Plaintiff is also alleging that he received unwanted text message(s) in addition to the alleged



unlawful call(s). See Complaint                  ,r,r   3.24, 3 . 2 5 , 3 .2 8 and 5 . 6 [D.E. 1 ].



            Even if Affordable was a properly named defendant (which it is not), the Complaint still



fails to set forth the ultimate facts with sufficient clarity to inform Affordable of the allegations



against it, to allow Affordable to provide an intelligent answer, or to allow Affordable to formulate



a proper defense.               It would be completely unreasonable to expect Affordable to defend itself



against such a painfully threadbare Complaint that is completely devoid of clarity and factual



support. Therefore, Plaintiffs incoherent and unsupported conclusory statements contained in the



Complaint are legally insufficient to form the basis of a claim under the TCP A against Affordable.



Accordingly,          the    Complaint must be               dismissed pursuant to               Federal   Rule   of Civil Procedure



12(b)(6).



VII.        MOTION FOR A MORE DEFINITE STATEMENT PURSUANT TO FEDERAL

            RULE OF CIVIL PROCEDURE 12(E).



            If the Court decides not to dismiss the Complaint, then at a minimum, in the alternative,



Plaintiff must provide Affordable with a more definite statement of his claims against Affordable



and a coherent statement of the ultimate facts to inform Affordable of the allegations against it.



Without a more definite statement Affordable cannot provide an intelligent answer or formulate a



proper defense. Federal Rule of Civil Procedure 12(e), "allows a party to 'move for a more definite



statement of a pleading to which a responsive pleading is allowed' if it is 'so vague or ambiguous



that the party cannot reasonably prepare a response.' Whether to grant a rule 12( e) motion for more



definite statement is within the court's sound discretion." Morrell v. Experian Info. Sols., Inc., no.



3 : 1 9 - cv - 2 9 8 2 - k - bh, 2 0 2 1   WL   1974    2 8 , at   *   1     .
                                                                           (N D .   Tex.     . 20, 2 0 2 1 ) (quoting Crawford--el v.
                                                                                           Jan




                                                                            13
Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                                  Page 19 of 20 PageID 124


Britton, 523 U . S . 574, 597-98 ( 1 9 9 8 ) ; quoting also Travelers Indem. Co. of Conn. v. Presbyterian



Healthcare Res., 3 13 F. Supp. 2d 648, 653-54 (N.D. Tex. 2004)).



        As discussed at length above, Plaintiffs threadbare Complaint is completely devoid of



clarity and factual support.      Specifically, it is unclear from the pleadings what phone number



Plaintiff is alleging was contacted because the Complaint incoherently references and claims two



different telephone numbers.        See Complaint 1\ 6 . 1 , 6.27, 6.28 and 14.02 [D.E.                   1].   Moreover,



Plaintiff fails to allege when he received the alleged call(s), how many alleged call(s) he received,



See Complaint generally [D.E. 1 ] , and he implies without clarity that he also received unlawful



text message(s).    See Complaint     ,r,r   3.24, 3 . 2 5 , 3 . 2 8 and 5 . 6 [D.E. 1 ] .   These are all fact that are



paramount to a claim under the TCPA and require greater clarification.                          Moreover, Affordable



should not be forced to guess as to the claims set forth against it in Plaintiffs illogical Complaint.



Accordingly, Plaintiff should be required to provide a more definite statement pursuant to Federal



Rule of Civil Procedure 1 2 ( e).



VIII.   CONCLUSION.



        WHEREFORE,           Defendant, Affordable Auto Protection,                  LLC,     respectfully moves     this



Court to enter an Order dismissing Plaintiff, Joe Hunsinger' s, Complaint in its entirety pursuant to



Federal Rule of Civil Procedure 12(b) subsections (2), (5) and (6) or, alternatively, to enter an



Order granting     its   Motion for a More Definite             Statement pursuant to           Federal    Rule of Civil



Procedure 1 2 ( e), and for such further relief as this Court finds proper and just.




                                                           14
Case 3:21-cv-00830-K-BT Document 17-1 Filed 06/28/21                      Page 20 of 20 PageID 125


Dated: June 28, 2021                                    Respectfully Submitted,




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                                                       Protection, LLC




                                CERTIFICATE OF SERVICE



       I hereby certify that on this 28" day of June, 2 0 2 1 , the foregoing was filed through the



Court's electronic filing system   and will   be sent electronically to the parties via the Court's



electronic filing system.




                                                     Isl Jason S. Weiss

                                                       Jason S. Weiss




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